                             Case 20-10755-BLS                              Doc 1          Filed 04/05/20            Page 1 of 16


  Fill in this information to identify the case:

  United States Bankruptcy Court for the:


                             District of     Delaware
  --------                                 (St ate)
  Case number (If known): _ _ _ _ _ _ _ _ _ _ Chapter _1_1_
                                                                                                                                            D    Check if this is an
                                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                     02120

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor's name                                   Ravn A ir Group, Inc.




 2. All other names debtor used
    in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor's federal Employer                       4    7    _ 4         3   3    0     4   7
      Identification Number (EIN)



 4.   Debtor's address                           Principal place of business                                      Mailing address, if different from principal place
                                                                                                                  of business
                                                  4700 Old International Airport Road
                                                 Number            Street                                         Number      Street



                                                                                                                  P.O. Box

                                                  Anchorage                           AK           99502
                                                 City                                State         ZIP Code       City                          State        ZIP Code


                                                                                                                  Location of principal assets, if different from
                                                                                                                  principal place of business

                                                 County
                                                                                                                  Number      Street




                                                                                                                 City                         State          ZIP Code




 s. Debtor's website (URL)                        https://www.flyravn .com/




Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 1
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Debtor
                Ravn Air Group, Inc.                                                            Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
               Name




 s. Type of debtor                      1X1   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        0     Partnership (excluding LLP)
                                        D     Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                        A. Check one:
 1.   Describe debtor's business
                                        D Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        D Single Asset Real Estate (as defined in 11 U.S.C . § 101 (51 B))
                                        D Railroad (as defined in 11 U.S.C. § 101 (44))
                                        D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                        D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        D Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                        IXI None of the above

                                        B. Check all that apply:

                                        D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        D Investment company , including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § aoa-3)
                                        0     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http:l/www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4    8

 s. Under which chapter of the          Check one:
    Bankruptcy Code is the
    debtor filing?                      D     Chapter 7
                                        D     Chapter 9
                                        IXI   Chapter 11 . Check all that apply:
                                                           D   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,725 ,625 (amount subject to adjustment on
                                                               4/01/22 and every 3 years after that).
                                                           0   The debtor is a small business debtor as defined in 11 U.S.C . § 101 (51 D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement
                                                               of operations , cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S .C. § 1116(1)(8).
                                                           • The debtor is a small business debtor as defined in 11 U.S.C.   § 101 (510) , and it
                                                               chooses to proceed under Subchapter V of Chapter 11 .

                                                           D   A plan is being filed with th is petition.

                                                           D   Acceptances of the plan were solicited pre petition from one or more classes of
                                                               creditors , in accordance with 11 U.S.C. § 1126(b).

                                                           D   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form .

                                                           0   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                        0     Cha ter 12

 9.   Were prior bankruptcy cases       IX) No
      filed by or against the debtor
      within the last 8 years?          D Yes.      District _ _ _ _ _ _ _ __             When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                                                                 MM / DD / YYYY
      If more than 2 cases , attach a
      separate list.                                District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ __
                                                                                    MM / DD /YYYY


 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor
                  Ravn Air Group, Inc.                                                                     Case number   (if known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
                 Name


 10.    Are any bankruptcy cases           D No
        pending or being filed by a
                                           IXI Yes .     Debtor     See attached .                     Relationship
        business partner or an
        affiliate of the debtor?
                                                                    ----------------               --
                                                                    _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
                                                         District
        List all cases . If more than 1,                                                                                                  MM   /   DD     / YYYY
        attach a separate list.                          Case number, if known _ _ _ _ _ _ _ _ _ _ _ __



 11 .   Why is the case filed in this      Check all that apply:
        district?
                                           IX!   Debtor has had its domicile , principal place of business , or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                           D     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



 12.    Does the debtor own or have        IXI No
        possession of any real             D Yes . Answer below for each property that needs immediate attention . Attach additional sheets if needed .
        property or personal property
        that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                        D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                        D   It needs to be physically secured or protected from the weather.

                                                        D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options) .

                                                        D   Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                        Where is the property? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                         Number            Street




                                                                                         City                                            State ZIP Code


                                                        Is the property insured?

                                                        D   No
                                                        D   Yes . Insurance agency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                    Contact name

                                                                    Phone




                Statistical and administrative information



 13.    Debtor's estimation of             Check one:
        available funds                    !XI   Funds will be available for distribution to unsecured creditors .
                                           D     After any administrative expenses are paid , no funds will be available for distribution to unsecured creditors.


                                           D     1-49                              IXJ    1,000-5 ,000                           D   25,001-50,000
 14.    Estimated number of
        creditors
                                           D     50-99                             D     5,001 - 10,000                          D   50,001-100.000
                                           D     100-199                           D      10.001 -25,000                         0   More than 100,000
                                           D     200-999


 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor        Ravn Air Group, Inc.                                                                Case number (1/known), _ _ _ _ _ _ _ _ _ _ _ _ __
             Name


                                         D   $0-$ 50,000                        0   $1 ,000,001-$10 million                  0   $500,000,001-$1 billion
 1s. Estimated assets
                                         0   $50,001-$100,000                   D   $10,000,001-$50 million                  0   $1 ,000,000,001-$10 billion
                                         0   $100,001-$500,000                  D   $50,000,001 -$ 100 million               0   $10,000,000 ,001 -$50 billion
                                         D   $500,001-$1 million                ~ $100,000,001-$500 million                  D   More than $50 billion


                                         D   $0-$50,000                         D   $1 ,000,001 -$ 10 million                D   $500,000,001-$1 billion
 1s. Estimated liabilities
                                         D   $50,001 -$100.000                  D   $10,000 ,001 -$ 50 million               0   $1 ,000,000,001-$10 billion
                                         D   $100.001-$500,000                  D   $50,000 ,001-$100 million                0   $10,000,000,001-$50 billion
                                         0   $500,001 -$1 million               ~ $100,000,001-$500 million                  0   More than $50 billion




            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500 ,000 or imprisonment for up to 20 years , or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.


 11. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11 , United States Code , specified in this
     authorized representative of
                                             petition.
     debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on     04I0 5l 2020
                                                             MM   / DD /YYYY


                                         X     <;¥_9ttf~
                                             Signature of authorized representative of debtor
                                                                                                              John Mannion
                                                                                                              Printed name

                                             Title   Chief Financial Officer




 1s. Signature of attorney                                                                                                04/05/2020
                                                                                                              Date
                                             Signature of attorney for debtor                                             MM     / DD /YYYY



                                              Victoria A. Guilfoyle
                                             Printed name
                                              Blank Rome LLP
                                             Firm name
                                              1201 N. Market Street, Suite 800
                                             Number          Street
                                              Delaware                                                               DE            19801
                                             City                                                                State            ZIP Code

                                              (302) 425-6400                                                         guilfoyle@blankrome.com
                                             Contact phone                                                       Email address



                                               5183                                                               DE
                                             Bar number                                                          State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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                             Supplement to Question 10 of the Petition

On April 5, 2020, the following eight affi liated debtors filed voluntary chapter 11 petitions in the
United States Bankruptcy Court for the District of Delaware.

    1. Ravn Air Group, Inc.

   2. Ravn Air Group Holdings, LLC

   3. JJM, Inc.

   4. HoTH, Inc.

   5. Corvus Airlines, Inc.

   6. Peninsula Aviation Services, Inc.

   7. Frontier Fly ing Service, Inc.

   8. Hageland Aviation Services, Inc.
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                               SECRETARY'S CERTIFICATE

                                          April 5, 2020


       The undersigned, John Mannion, hereby certifies that he is the Assistant Secretary of
Ravn Air Group, Inc., a Delaware corporation (the "Company"), and further certifies that he is
authorized to make the following certification:

         Attached hereto is a true, complete and correct copy of the Resolutions of the Company
dated April 4, 2020. Such resolutions remain in full force and effect as of the date of execution
of this certificate.

       IN WITNESS WHEREOF, the undersigned has caused this Secretary's Certificate to be
executed as of the date first identified above.




                                              John Mannion
                                              Assistant Secretary of Ravn Air Group, Inc.




                                                                                          0011.DOCX
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   RESOLUTIONS OF THE BOARD OF DIRECTORS OF RA VN AIR GROUP, INC.

                               A DELAWARE CORORATION
                                          April 4, 2020
        WHEREAS, the Board of Directors (the "Board") of Ravn Air Group, Inc. (the
"Company") has reviewed and considered the materials presented by the management of the
Company and the Company's financial and legal advisors regarding the Company's liabilities
and liquidity situation; and

        WHEREAS, the Company contemplates entering, with its wholly-owned subsidiaries,
into a senior secured credit agreement (the "DIP Agreement") with certain of its existing lenders
(together with their successors, and permitted assigns, the "Lenders") and BNP Paribas, as
administrative agent and collateral agent for the Lenders (in such capacity, together with its
successors and assigns in such capacity, the "DIP Agent"); and
       WHEREAS, the Board has consulted with the Company's management and financial
and legal advisors and has considered fully each of the strategic alternatives available to the
Company; and
        WHEREAS, in the Board's judgment, it is desirable and in the best interests of the
Company, its creditors, stockholders, employees, and other interested parties that the Company
file a voluntary petition for relief under the provisions of chapter 11 of title 11 of the United
States Code (the "Bankruptcy Code"); and
        WHEREAS, in the Board's judgment, it is desirable and in the best interests of the
Company, its creditors, stockholders, employees, and other interested parties that the Company
enter into the DIP Agreement, on terms consistent with those presented to the Board, and subject
to such changes and alterations based on the reasonable business judgment of the Company's
management; and
        NOW, THEREFORE, BE IT RESOLVED, that each of the Chief Executive Officer
and the Chief Financial Officer of the Company (each, an "Authorized Officer" and collectively,
the "Authorized Officers") be, and hereby is, authorized and directed in the name and on behalf
of the Company to execute and verify a voluntary petition to commence proceedings under
chapter 11 of the Bankruptcy Code and to cause the same to be filed in any district at such time
and venue as the Authorized Officer executing said petition shall determine;
       RESOLVED, FURTHER, that each of the Company and the Authorized Officers be,
and hereby are, authorized and directed to execute and verify a voluntary petition to commence
proceedings under chapter 11 of the Bankruptcy Code for each of JJM, Inc.; Ho TH, Inc.;
Peninsula Aviation Services, Inc.; Corvus Airlines, Inc.; Frontier Flying Service, Inc. ; and
Hageland Aviation Services, Inc., and to cause the same to be filed in any district at such time
and venue as the Authorized Officer executing said petition shall determine;
     RESOLVED, FURTHER, that the execution and delivery of the DIP Agreement by the
Company be, and hereby is, approved and authorized, and that the Authorized Officers of the


                                                                                          DOU .DOCX
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Company or any of them acting alone are hereby authorized, directed, and empowered to
execute, deliver, and cause the Company to carry out the provisions of, and perform its
obligations under, the DIP Agreement, substantially in the form presented to the Board, with
such changes and exhibits as any of the Authorized Officers may deem necessary or appropriate
in their sole and absolute discretion, the execution and delivery of the DIP Agreement by any of
such Authorized Officers to be deemed conclusive evidence of such determination;
        RESOLVED, FURTHER, that all other transactions contemplated by the DIP
Agreement are hereby approved and authorized, all on substantially the terms and conditions set
forth in the DIP Agreement;

        RESOLVED, FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the law firm of Keller Benvenutti Kim LLP as general
bankruptcy counsel to represent and assist the Company in carrying out its respective duties
under the Bankruptcy Code and related matters, and to take any and all actions to advance the
Company' s rights and obligations, including filing any pleadings; and in connection therewith,
each of the Authorized Officers be, and hereby is, authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon filing of the case
under chapter 11 of the Bankruptcy Code, and cause to be filed an appropriate application for
authority to retain the services of Keller Benvenutti Kim LLP;
        RESOLVED, FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the law firm of Blank Rome LLP as special corporate counsel
and local bankruptcy counsel to represent and assist the Company in carrying out its respective
duties under the Bankruptcy Code and related matters, and to take any and all actions to advance
the Company ' s rights and obligations; and in connection therewith, each of the Authorized
Officers be, and hereby is, authorized and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon filing of the case under chapter 11 of the
Bankruptcy Code, and cause to be filed an appropriate application for authority to retain the
services of Blank Rome LLP;
        RESOLVED, FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Conway MacKenzie, LLC, as financial advisor to
represent and assist the Company in carrying out its respective duties under the Bankruptcy Code
and related matters, and to take any and all actions to advance the Company's rights and
obligations; and in connection therewith, each of the Authorized Officers be, and hereby is,
authorized and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon filing of the case under chapter 11 of the Bankruptcy Code, and
cause to be filed an appropriate application for authority to retain the services of Conway
MacKenzie, LLC;
        RESOLVED, FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ Bankruptcy Management Solutions, Inc. d/b/a Stretto
("Stretto") as claims and noticing agent for the Company to assist the Company in carrying out its
duties under the Bankruptcy Code and related matters; and in connection therewith, each of the



                                                                                         D011 .DOCX
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Authorized Officers be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon filing of the case under
chapter 11 of the Bankruptcy Code, and cause to be filed an appropriate application for authority
to retain the services of Stretto;
         RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code and related matters; and in connection therewith, each of
the Authorized Officers be, and hereby is, authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon filing of the case
under chapter 11 of the Bankruptcy Code, and cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary;

        RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed, in the name and on behalf of the Company, to execute all petitions,
schedules, motions, lists, applications, pleadings, and other papers or documents, and to take any
and all such other and further actions which such Authorized Officer or the Company's legal
counsel may deem necessary, proper, or desirable in connection with the case under chapter 11
of the Bankruptcy Code, with a view to the successful prosecution of such case;

        RESOLVED FURTHER, that each of the Authorized Officers be, and hereby is,
authorized and directed, in the name and on behalf of the Company, to take such actions and to
make, sign, execute, acknowledge, and deliver any and all such additional documents,
agreements, affidavits, applications for approvals or rulings of governmental or regulatory
authorities, motions, orders, directions, certificates, requests, receipts, financing statements, or
other instruments as may be reasonably required to give effect to the foregoing resolutions and to
consummate the transactions contemplated by the foregoing resolutions, to execute and deliver
such instruments, and to fully perform the terms and provisions thereof; and

        RESOLVED FURTHER, that to the extent that any of the actions authorized by any of
the foregoing resolutions have been taken by an Authorized Officer on behalf of the Company,
such actions are hereby ratified and confirmed in their entirety.




                                                                                           0011.DOCX
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                                        Chapter 11

 RA VN AIR GROUP, INC. 1                                       Case No. 20-_ _(_)

                  Debtor.                                      Joint Administration Requested


           CORPORATE OWNERSHIP STATEMENT PURSUANT TO RULES 1007
          AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
          In accordance with Rules 1007 and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the Debtors submit the following information:

             X The following entities directly or indirectly own 10% or more of any class of the

                 above-captioned Debtor's equity interests:

                         Name:             Ravn Air Group Holdings, LLC
                         Address:          110 East 59 th Street, 27 th Floor,
                                           New York, NY 10022

                         Name:             JFL - Rag Partners, LLC
                         Address:          110 East 59 th Street, 27 th Floor,
                                           New York, NY 10022

                         Name:             W Capital RAG Holdings, LLC
                         Address:          400 Park Avenue,
                                           New York, NY 10022

                         Name:             W Capital Partners III , LP
                         Address:          400 Park Avenue,
                                           New York, NY 10022

                         Name:             JFL - Rag Holdings, LLC
                         Address:          110 East 59 th Street, 27 th Floor,
                                           New York, NY 10022

                         Name:             JFL AIV Investors III - (US), LP
                         Address:          110 East 59 th Street, 27 th Floor,
                                           New York, NY 10022

   The last four digits of Debtor's tax identification number are (3047). The Debtor' s mailing address is: 4700 Old
   International Airport Road, Anchorage, AK 99502.
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           Name:            JFL AIV Investors III - (NUS), LP
           Address:         110 East 59 th Street, 27 th Floor,
                            New York, NY 10022

•   (Additional names are attached hereto)

•   There are no entities that directly or indirectly own 10% or more of any class of

    the Debtor' s equity interest.




                                       2
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 Fill in this information to identify the case and this filing:


 Debtor Name     Ravn A ir Group, Inc.

 Un ited States Bankruptcy Court for the: _ _ _ _ _ _ _ _ _ District of           Delaware
                                                                                  (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 ,
1519, and 3571 .



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in th is case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         D      Schedule AIB: Assets- Rea/ and Personal Property (Official Form 206A/B)

         D      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         D      Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         D      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         D      Schedule H: Codebtors (Official Form 206H)

         D      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D      Amended Schedule

         D      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         IXl    Other document that requires a declaration Corporate Ownership Statement Pursuant to Rules 1007 and 7007.1 of the Federal Rules
                of Bankruptcy Procedure (Official Form 202)



        I decla re under penalty of perjury that the foregoing is true and correct.


        Executed on        04/05/2020
                           MM / DD /YYYY
                                                            x~7~~
                                                             - ~                            ..
                                                                  Signature of 1nd1v1dual signing on behalf of debtor




                                                                   John Mannion
                                                                  Printed na me

                                                                  Chief Financial Officer
                                                                  Position or relationship to debtor



Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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      Fill in this information to identify the case:

      Debtor name   Ravo Air Group Inc
      United States Bankruptcy Court for the :                              District of Delaware
                                                                                     (State)
      Case number (If known):
                                                                                                                                               D   Check if this is an
                                                                                                                                                   amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 30 largest unsecured cla ims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101 (31 ). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the cred itor among the holders of the 30
    largest unsecured claims.

                                                 I

     Name of creditor and complete                    Name, telephone number, and   Nature of the cla im Indicate if       Amount of unsecured cla im
     mailing address, including zip code              ema il address of creditor    (for example, trade claim is           If the claim is fully unsecured, fill in only
                                                      contact                       debts, bank loans,   contingent,       unsecured clai m amount. If claim is partially
                                                                                    professional         unliquidated,     secured, fill in total claim amount and deduction
                                                                                    services, and        or disputed       for value of collateral or setoff to calculate
                                                                                    government                             unsecured clai m.
                                                                                    contracts)                                                                                 ·-
                                                                                                                           Tota l          Deduction        Unsecured
                                                                                                                           claim, If       for value of     claim
                                                                                                                           partially       collateral or
                                                                                                                           secured         setoff

1      Olivery Wyman, Inc./ Cavok                Steven Harp
       P.O. Box 3800-28,                         Tel : 617.424.3200                 h"ra de Debts       Unliq ui dated                                     $2,225 ,854.96
       Boston, MA 02241                          Fax : 617.424.3300

2
      Crowley Fuels Alaska
      201 Arctic Slope Avenue,                   Tel : 866.770.5587                 h"rade Debts        Un liquidated                                      $1 ,603,449 .00
      Anchorage, AK 99518

3                                                    M ark O'Keefe
       Standard Aero
                                                 Te l: 902.436 .1333                h"ra de Debts       Unliq uidated                                      $1,257 ,878.24
       33 Allen Dyne Road ,
       Winnipeg , Manitoba, CA R3H 1A1           Fax : 90 2.436.0700

4      AvMax Aviation Services                       Evan Ga o
       2055 Pegasus Road NE,                     Tel: 403.291.2464                  irrade Debts        Un li q uid ated                                   $816 ,480.12
       Calgary, Alberta, CA T2E8C3
                                                 evan .gao@avmax.com

5
        Boeing Distribution, Inc.                Co nnie M oo re
        P.O. Box 842267,                                                            h"rade Debts        Un liquidated                                      $654,423.32
                                                 Tel : 1.800.284 .2552
        Dallas, TX 75284-2267

6
        STS Mod Center                           Travis Shillingto n
        2000 NE Jensen Beach Blvd ,                                                 h"rade Debts        Un li quidate d                                    $634,586.25
                                                 Te l: 1.800-800.2400
        Jensen Beach, FL 34957

7
        Petro Star, Inc.                             M ark John
        3900 C Street, Suite 802,                1                                  rrra de Debts       Unliquidated                                       $574,589.12
                                                 ~ el : 1.877.344.2661
        Anchorage, AK 99503

8      Sky Service F.B.O., Inc.                  Terry Miller
       6120 Midfield Road ,                      Tel : 905.678 .5668
                                                                            h"rade Debts                Unliq ui dated                                     $444 ,317.95
       Mississauga, Ontario,                     Fax : 905.362.5906
       CA L5P 1B1                                erry miller@skyservice.com



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     Debtor        Ravn Air Group. Inc.                                                         Case numbe q itknown)_ _ _ _ _ _ _ _ _ _ _ _ __
                   Name


      Name of creditor and complete           Name, telephone number,     Nature of the claim (for   Indicate if     Amount of unsecured claim
      mailing address, Including zip code     and email address of        example, trade debts,      claim is        If the claim is fully unsecured, fill in only
                                              creditor contact          ' bank loans, professional   contingent,     unsecured claim amount. If claim is partially
                                                                          services, and              unliquldated,   secured, fill in total claim amount and
                                                                          government                 or disputed     deduction for value of collateral or setoff to
                                                                          contracts)                                 calculate unsecured claim .
                                                                                                                     Total          Deduction        Unsecured
                                                                                                                     claim, if      for value of     claim
                                                                                                                     partially      collateral or
                                                                                                     I               secured        setoff

9        State of Alaska Department of
         Transportation                     John MacKinnon
         P.O. Box 112500,                                               Trade Debts                  Unliquidated                                    $381 ,526.19
                                            Tel : 907.465 .3900
         Juneau, AK 99511 -2500


10
         Eskimos , Inc.
         P.O. Box 536,                      Tel : 907 .852 .3835        Trade Debts                  Un liquidated                                   $327 ,967.15
         Barrow, AK 99723

11                                           Arsim Lena
       Pegasus Aviation Services, LLC
       3901 Old International Airport Road , Tel : 907 .240.2585       Trade Debts                   Un liquidated                                   $269 ,740.73
       Anchorage , AK 99502                  Arsim.Lena@pegasusanc.com

12                                          Olivia Werdal
         GCI
         P.O. Box 99001 ,                   Tel : 907 -265 -5454        Trade Debts                  Unliquidated                                   $251 ,895.00
         Anchorage , AK 99509-9001          owerdal@gci.com

13
        Frosty Fuels, LLC
        4000 Old Seward Hwy, Suite 301 ,                                Trade Debts                  Un liquidated                                  $205,133.36
        Anchorage , AK 99503

14      Napa Auto Parts/Genuine Parts
        Company, Inc.                       Chris Meisler
        File 56893/File 56898,              Tel : 907 .751.6265                                      Unliquidated                                   $196,460.19
                                                                    Trade Debts
        Los Angeles , CA 90074-6893         Chris_Meisler@genpt.com

15                                          Jacqueline Newcomb
       Saab Defense and Security USA,       lrel : 703.406 .7281
       LLC                                                           rrrade Debts                    Un liquidated                                   $163 ,861.79
                                            IFax : 703.406 .7202
        20700 Loudoun County Parkway,
        Ashburn , VA 20147                  Gacqueline.Newcomb@saabu
                                             sa .com

16                                          Rachel Layman
                                            Tel : 800.444.9890
       SoflwareOne, Inc.
                                            Fax : 262.317 .5554       rrrade Debts                   Un liquidated                                   $152 ,393 .59
       20875 Crossroads Circle , Suite 1,
       Wakesha WI 53186                     Rachel.Layman@softwareone
                                            .com

17                                          Barbara Butler
                                        rrel : 703.454 .7650
     Fox Rothschild , LLP
     8300 Greensboro Drive , Suite 1000 Fax : 703.454. 7651        rrrade Debts                      Unliquidated                                   $143,553 .66
     Tysons , VA 22102                  bbutler@forxrothschild .co
    -~                                  m
18                                          jShelly Dunbar

       Aircraft Propeller Services , LLC    rrel : 847.541.1133
       595 Telser Road ,                    Fax: 847.541-0176          rrrade Debts                  Unliquidated                                   $137 ,982 .82
       Lake Zurich, IL 60047                MicheleDunbar@aircraftprop
                                            eller.com




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     Debtor          Ravn Air Group. Inc.                                                       Case numbeq ;f known) _ _ _ _ _ _ _ _ _ _ _ _ __
                    Name



      Name of creditor and complete              Name, telephone number, and   Nature of the       Indicate if     Amount of unsecured claim
      mailing address, including zip code        email address of creditor     claim (for example, claim is        If the claim is fully unsecured, fill in only
                                                 contact                       trade debts, bank   contingent,     unsecured claim amount. If claim is partially
                                                                               loans, professional unliquidated,   secured, fill in total claim amount and deduction
                                                                               services, and       or disputed     for value of collateral or setoff to calculate
                                                                               govemmen                            unsecured claim.


                                                                                                                   l
                                                                               t contracts)

                                                                                                                   Tota l          Deduction for      Unsecured
                                                                                                                   claim, if       val ue of          claim
                                                                                                                   partially       collateral or
                                             I                                                                     secured         setoff

19     Brothers Aviation Maintenance
       Service, Inc.                         Tel : 803.222 .6006
                                                                               Trade Debts        Unl iquidated                                      $135,128.85
       406 S. Main Street, Clover, SC        Fax : 803 .222 .6222
       29710

20
       FedEx
       P.O. Box 94515, Palatine, IL          Tel : 866.728 .8587               Trade Debts        Unliquidated                                       $134,247.43
       60094-4515

21     Flight Safety International
       Marine Air Terminal, Laguardia        rrel : 718 .565.4100
                                                                               Trade Debts        Un liqu idated                                    $112,225.00
       Airport,                              Fax : 718 .565.4133

-
22
      -Flushing , NY 11371-1061

        Northern Air Cargo                    Colin Dolan
        3900 Old International Airport Road ,                                  Trade Debts        Unliquidated                                      $97 ,750.39
                                              cdolan@nac.aero.com
        Anchorage , AK 99502

23                                           Maccoy Walker
        Walker Enterprises
        P.O. Box 58239,                      Tel: 907 .750 .6490             Trade Debts          Un liquidated                                     $97 ,610.00
        Fairbanks, AK 99701                  walkerenterpri sesak@gmail .com

24
        Global Aviation                      Tel: 763.324 .7370
        920 Aldrin Dr, Suite 250,                                              Trade Debts        Disputed                                          $93,310.91
                                             Fax : 651.340 .7541
        Eagan MN 55121 -2567

25                                           Baljeet Gill
        Pratt & Whitney Canada Le asing
        1000 Baul. Marie-Victorin,           Tel: 450 .647.8089                Trade Debts        Unliquidated                                      $91,222.43
        Longueuil , Quebec, CA J4G 1A1       Baljeet.Gill@pwc.ca

26                                           Angela Brandenstein
        Mountain Aerospace , Inc.            Tel : 303.404.3248
        6970 W 116th Avenue , Unit D,                                          Trade Debts        Unliquidated                                      $77 ,1 72.12
                                             Fax : 303.404.3291
        Broomfield , CO 80020
                                             angela@mountainaerospace.com

27      International Business Machines
        Corporation                                                            Trade Debts        Unliquidated                                      $75,488.60
        3039 E Cornwallis,
        Resrch Tri Pk, NC 27709

28                                           Ashlee Anderson
          International Aviation Service     rrel : 907 .243 .0756
          4200 W. 50th Avenue,                                                 Trade Debts        Un liquidated                                      $74,253.15
                                             Fax: 907.243.4183
          Anchorage , AK 99502
                                             fuelaccounti ng@iasak.com

29        lnAir Aviation Services            rrel : 317.271.0195
          8225 Country Club Place ,                                            Trade Debts        Unliqu idated                                     $68,923.56
                                             Fax : 317.271.0345
          Indianapolis, IN 46214

30      Airport Enterprises LLC , dba
        Contract Aircraft Technicians        Peter Gross
        P.O. Box 7276,
                                                                               Trade Debts        Unliquidated                                      $68,901 .26
                                             trel : 406.270.0910
        Kalispell, MT 59904
----                        - ~ ---                         --
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  Fill in this information to Identify the case and this filing:


  Debtor Name Ravn Air Group, Inc.

  United States Bankruptcy Court for the : _ __ _ _ _ __ _ _ District of Delaware
                                                                                (State)
  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011 .

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571 .



               Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or
         another individual serving as a re presentative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          D     Schedule A/8: Assets- Real and Personal Property (Official Form 206A/B)

          D     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          D     Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          D     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          D     Schedule H: Codebtors (Official Form 206H)

          D     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          0     Amended Schedule


         129    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          D     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on 04/05/2020
                            MM / DD/YYYY
                                                             x~g7~~
                                                                 Signature of individu al sign ing on behalf of debtor



                                                                   John Mannion
                                                                 Printed name

                                                                   Chief Financial Officer
                                                                 Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
